      Case 7:22-cv-00272 Document 7 Filed on 10/04/22 in TXSD Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 McALLEN DIVISION

HEYNZ LISZT,                                    §
                                                §
       Plaintiff,                               §
                                                §
v.                                              § CIVIL ACTION NO. 7:22-CV-272
                                                §
LAKEVIEW LOAN SERVICING, LLC                    §
AND LOANCARE LLC,                               §
                                                §
      Defendants.                               §

            AGREED STIPULATION OF DISMISSAL WITHOUT PREJUDICE

       Plaintiff and Defendants file this stipulation of dismissal under FED. R. CIV. P.

41(a)(1)(A)(ii).

       1.      Plaintiff is Heynz Liszt; Defendants are Lakeview Loan Servicing, LLC and

               LoanCare LLC.

       2.      On June 29, 2022, Plaintiff sued Defendants in State Court under Cause No. C-

               2460-22-F.

       3.      Defendants filed their answer on July 11, 2022, and then filed a Notice of

               Removal of State Court Action on August 10, 2022.

       4.      Plaintiff moves to dismiss this case without prejudice.

       5.      Defendants agrees to this stipulation of dismissal.

       6.      This case is not a class action under FED. R. CIV. P. 23, a derivative action under

               Rule 23.1, or an action related to an unincorporated association under Rule 23.2.

       7.      This case is not governed by any federal statute that requires a court order for

               dismissal of this case.
         Case 7:22-cv-00272 Document 7 Filed on 10/04/22 in TXSD Page 2 of 2




          8.         Plaintiff has not previously dismissed any federal or state court suit based on or

                     including the same claims as those presented in this case.

          9.         This dismissal is without prejudice.

                                                   Respectfully submitted,

                                                   By: Robert C. Newark, III
                                                      Robert C. Newark, III
                                                      Texas Bar No. 24040097
                                                      Oklahoma Bar No. 21992
                                                      A Newark Firm
                                                      1341 W. Mockingbird Lane, Ste 600W
                                                      Dallas, Texas 75247
                                                      Telephone: (866)230-7236
                                                      Facsimile: (888)316-3398
                                                      Email: office@newarkfirm.com

                                                   ATTORNEY FOR PLAINTIFF,
                                                   HEYNZ LISZT

                                                   AGREED TO:

                                                   By: /s/ Thomas W. White, Jr.
                                                     EMILY G. STROOPE (LEAD COUNSEL)
                                                     State Bar No. 24070692
                                                     estroope@mcglinchey.com
                                                     Three Energy Square
                                                     6688 North Central Expressway
                                                     Suite 400
                                                     Dallas, Texas 75206
                                                     (214) 445-2445 Tel
                                                     (214) 445-2450 Fax

                                                       and

                                                       THOMAS W. WHITE, JR.
                                                       State Bar No. 24102645
                                                       twhite@mcglinchey.com
                                                       1001 McKinney Street, Suite 1500
                                                       Houston, TX 77002
                                                       (713) 335-2135 Tel
                                                       (713) 520-1025 Fax

                                                   ATTORNEYS FOR DEFENDANTS


Agreed Stipulation of Dismissal
Page 2 of 2
